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11
                                      UNITED STATES DISTRICT COURT
12
                                 EASTERN DISTRICT OF CALIFORNIA
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14
      UNITED STATES OF AMERICA,                      No. 2:19-CR-0107-KJM
15
                         Plaintiff,
16                                                   ORDER PROVISIONALLY SEALING
             v.                                      DOCUMENTS
17                                                   (EXHIBITS A-K AT DOCKETS 144-1 TO
      RONALD YANDELL, et. al.,                        144-11)
18
                         Defendants.
19

20
            Upon application of the defendant Brant Daniel, through counsel, joined by other
21

22   defendants, and good cause being shown,

23          IT IS HEREBY ORDERED that the documents at dockets 144-1 to 144-11 are

24   PROVISIONALLY SEALED pending the court’s review of the documents covered by the
25   request and until further order by the court.
26
            Dated: August 23, 2019.
27

28
                                                     UNITED STATES DISTRICT JUDGE
